                          Case 16-32096 Document 65 Filed in TXSB on 01/11/18 Page 1 of 6
 Fill in this information to identify the case:

 Debtor 1              Sherika S Amory
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________              TX
                                                                District of __________
                                                                             (State)
 Case number            16-32096
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                   US Bank Trust National Association as Trustee
                   of the Igloo Series III Trust
 Name of creditor: _______________________________________                                                           9
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                            4 ____
                                                         ____  6 ____
                                                                   3 ____
                                                                      7                  Must be at least 21 days after date       02   01   2018
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          865.34
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             346.65
                   Current escrow payment: $ _______________                           New escrow payment:           363.89
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Sherika S Amory
                 _______________________________________________________                                               16-32096
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

     
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    01 11 2018
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            The Law Offices of Michelle Ghidotti
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                       CA         92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottilaw.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
                                                                                                                                PAGE 1 OF 2
                       Case 16-32096 Document 65 Filed in TXSB on 01/11/18 Page 3 of 6
                                                                         Annual Escrow Account
                                                                          Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                                                          REDACTION
                                                                                        ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                              004     1461144637_ESCROWDISCSTMT_171206

                                                                                        DATE: 12/06/17

                                                   74
              SHERIKA EVANS AMORY                                                       PROPERTY ADDRESS
              13562 BLUE MARLIN LN                                                      13562 BLUE MARLIN
              HOUSTON, TX 77083                                                         HOUSTON, TX 77083



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 02/01/2018
THROUGH 01/31/2019.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 02/01/2018 TO 01/31/2019 ---------
HOMEOWNERS F/P                                                    $966.00
COUNTY TAX                                                        $861.16
SCHOOL                                                         $1,416.53
UTILITY                                                           $645.58
TOTAL PAYMENTS FROM ESCROW                                     $3,889.27
MONTHLY PAYMENT TO ESCROW                                         $324.10
          ------ ANTICIPATED ESCROW ACTIVITY 02/01/2018 TO 01/31/2019 ---------
                    ANTICIPATED PAYMENTS                                                              ESCROW BALANCE COMPARISON
MONTH         TO ESCROW              FROM ESCROW                  DESCRIPTION                  ANTICIPATED                   REQUIRED

                                                          STARTING BALANCE -->                   $170.76                      $648.27
FEB                $324.10                                                                       $494.86                      $972.37
MAR                $324.10                                                                       $818.96                    $1,296.47
APR                $324.10                                                                     $1,143.06                    $1,620.57
MAY                $324.10                                                                     $1,467.16                    $1,944.67
JUN                $324.10                                                                     $1,791.26                    $2,268.77
JUL                $324.10                                                                     $2,115.36                    $2,592.87
AUG                $324.10                   $966.00 HOMEOWNERS F/P                            $1,473.46                    $1,950.97
SEP                $324.10                                                                     $1,797.56                    $2,275.07
OCT                $324.10                                                                     $2,121.66                    $2,599.17
NOV                $324.10                                                                     $2,445.76                    $2,923.27
DEC                $324.10                                                                     $2,769.86                    $3,247.37
JAN                $324.10                  $861.16 COUNTY TAX                                 $2,232.80                    $2,710.31
                                          $1,416.53 SCHOOL                                       $816.27                    $1,293.78
                                            $645.58 UTILITY                               L1->   $170.69               L2->   $648.20
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS LESS THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SHORTAGE. YOUR ESCROW SHORTAGE IS $477.51.
                                              CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                              $501.45
ESCROW PAYMENT                                                                               $324.10
SHORTAGE PYMT                                                                                 $39.79




                                         ********** Continued on reverse side ************

                                                                                            Escrow Payment Options
                                                                                   I understand that my taxes and/or insurance has increased and that
                                                                                   my escrow account is short $477.51. I have enclosed a check for:

                          REDACTIO                                                      Option 1: $477.51, the total shortage amount. I understand
Loan Number:                                                                            that if this is received by 02/01/2018 my monthly mortgage
Statement Date:           N 12/06/17                                                    payment will be $825.55 starting 02/01/2018.
Escrow Shortage:               $477.51
                                                                                        Option 2: $_____________ , part of the shortage. I understand
                                                                                        that the rest of the shortage will be divided evenly and added
        Important: Please return this coupon with your check.                           to my mortgage payment each month.
                                                                                         Option 3: You do not need to do anything if you want to
                                                                                         have all of your shortage divided evenly among the next
          BSI FINANCIAL SERVICES                                                         12 months.
          314 S. Franklin Street, 2nd Floor                                       Please make you check payable to: BSI FINANCIAL SERVICES and
          P.O. Box 517                                                            please include your loan number on your check.
          Titusville, PA 16354


Licensed as Servis One, Inc. dba BSI Financial Services. BSI Financial Services NMLS# 38078. Colorado Office Location: 13111 E. Briarwood Ave.,
Suite 340, Centennial, CO 80112 80112 (303) 309-3839. Licensed as a Debt Collection Agency by the New York City Department of Consumer Affairs, (#
2001485-DCA). North Carolina Collection Agency Permit (# 105608).
                                                                                                                                                                                                  PAGE 2 OF 2
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                                                ********** Continued from front **********


   NEW PAYMENT EFFECTIVE 02/01/2018                                                                                                          $865.34
   YOUR ESCROW CUSHION FOR THIS CYCLE IS $648.20.
                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 02/01/2017 AND ENDING 01/31/2018. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 02/01/2017 IS:
   PRIN & INTEREST                                                                                                                           $501.45
   ESCROW PAYMENT                                                                                                                            $346.65
   BORROWER PAYMENT                                                                                                                          $848.10
                       PAYMENTS TO ESCROW                                       PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                     ACTUAL                     DESCRIPTION                  PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                                  $0.00                        $0.00
   AUG                     $0.00                $4,965.09 *                                                                                                                         $0.00                    $4,965.09-
   OCT                     $0.00                  $966.93 *                                                                                                                         $0.00                    $3,998.16-
   NOV                     $0.00                  $748.31 *                                                  $966.00 * HOMEOWNERS F/P                                               $0.00                    $5,632.38-
   NOV                                                                                                     $1,416.53   SCHOOL
   DEC                 $0.00
                  __________                     $644.62 *
                                              __________                     __________                      $861.16 * COUNTY TAX
                                                                                                          __________                                                                $0.00          A->       $5,848.92-
                           $0.00                $2,605.23                             $0.00                $3,243.69


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $0.00. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $5,848.92-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

  Determining your Shortage or Surplus
  Shortage:
   .
  Any shortage in your escrow account is usually caused by one the following items:
   . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
   . A projected increase in taxes for the upcoming year.
     The number of months elapsed from the time of these disbursements to the new payment effective date.
  Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
  shortage can be paid either partially or in full.
  Surplus:
   .
  A surplus in your escrow account is usually caused by one the following items:
   .  The insurance/taxes paid during the past year were lower than projected.
   .  A refund was received from the taxing authority or insurance carrier.
      Additional funds were applied to your escrow account.
  If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
  run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
  your escrow account.




If you have filed a bankruptcy petition and there is either an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we
may not and do not intend to pursue collection of that obligation from you personally. If these circumstances apply, this notice is not and should not be construed to be a demand for payment from you personally.
Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired
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 1   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Kristin Zilberstein, Esq. (SBN: 200041)
 2   Jennifer R. Bergh, Esq. (SBN 305219)
 3   LAW OFFICES OF MICHELLE GHIDOTTI
     1920 Old Tustin Ave.
 4   Santa Ana, CA 92705
     Ph: (949) 427-2010
 5   Fax: (949) 427-2732
 6   kzilberstein@ghidottilaw.com

 7   Authorized agent for Creditor
     US Bank Trust National Association as Trustee of the Igloo Series III Trust.
 8
 9
                               UNITED STATES BANKRUPTCY COURT
10
                         SOUTHERN DISTRICT OF TEXAS –HOUSTON DIVISION
11
12   In Re:                                               )   CASE NO.: 16-32096
13                                                        )
     Sherika S Amory ,                                    )   CHAPTER 13
14                                                        )
              Debtors.                                    )   CERTIFICATE OF SERVICE
15
                                                          )
16                                                        )
                                                          )
17                                                        )
                                                          )
18
                                                          )
19                                                        )
                                                          )
20
21
                                      CERTIFICATE OF SERVICE
22
23            I am employed in the County of Orange, State of California. I am over the age of
24   eighteen and not a party to the within action. My business address is: 5120 E. LaPalma Ave.,
25
     Ste. 206, Anaheim, CA 92807.
26
              I am readily familiar with the business’s practice for collection and processing of
27
28   correspondence for mailing with the United States Postal Service; such correspondence would




                                                      1
                                       CERTIFICATE OF SERVICE
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 1   be deposited with the United States Postal Service the same day of deposit in the ordinary
 2   course of business.
 3
     On January 11, 2018 I served the following documents described as:
 4
                    NOTICE OF MORTGAGE PAYMENT CHANGE
 5
 6   on the interested parties in this action by placing a true and correct copy thereof in a sealed

 7   envelope addressed as follows:
 8
     (Via United States Mail)
 9   Debtor                                              Chapter 13 Trustee
     Sherika S Amory                                     David G Peake
10   13562 Blue Marlin Ln                                Chapter 13 Trustee
11   Houston, TX 77083                                   9660 Hillcroft
                                                         Suite 430
12   Debtor’s Counsel                                    Houston, TX 77096-3856
     Min Gyu Kim
13   Law Firm of Min Gyn Kim PLLC                        US Trustee
14   2100 West Loop South                                Office of the US Trustee
     Suite 805                                           515 Rusk Ave
15   Houston, TX 77027                                   Ste 3516
                                                         Houston, TX 77002
16
17   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
18   following ordinary business practices.
19   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
20   Eastern District of California

21   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
22
23           Executed on January 11, 2018 at Anaheim, California

24   /s / Krystle Miller
     Krystle Miller
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
